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Hoffman Employment Law, LLC

600 Jefferson Plaza Suite 204
Rockville, MD 20852
Phone: 301-251-3752 | Fax: 301-251-3753

Account Statement

Prepared for Elisa Betz
Re: Dellis' Bar & Grill

Previous Balance $0.00
Current Charges $14,752.00
New Balance $14,752.00
Adjustments $0.00
Payments $0.00
Now Due $14,752.00

Trust Account $0.00

 
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PRE-BILL

Elisa Betz
Invoice Date: February 11, 2020

Invoice Number: Pre-bill
Invoice Amount: $14,752.00

Matter: Dellis' Bar & Grill

Attorney's Fees

7/3/2019 Confer w/ HBH and SEK re. case status. JL. 10 $21.50
7/3/2019 Confer with associate attorneys re status of matter. H.B.H. 10 $40.00
TAVT/2019 Prepare civil cover sheet and summons. JL. 20 343.00
TATH2019 Tele conf with E. Betz re status of matter; review H.B.H. 1.40 $560.00

complaint with client. Review and revise
complaint; confer with assoc atty re summons/civil
cover sheet. Open case via ECF.

7/18/2019 Review case management order and issued JL. 10 $21.50
summons.

8/1/2019 Draft/file consent to magistrate judge S.K. 40 $82.00

8/2/2019 Drafi/file updated consent to magistrate S.K. 40 $82.00

8/5/2019 Review paperless order. JL. 10 $21.50

8/22/2019 Review email from HBH to PI. Betz re. case status JL. 10 $21.50
update.

8/22/2019 Draft comm to client re status update. H.B.H. 20 $80.00

8/22/2019 Review comm from process server re status of H.B.H. 10 $40.00
service.

8/29/2019 Comm with associate attys re filing proof of service. H.B.H. 10 $40.00

8/30/2019 File Return of Summons Executed (Spanellis) S.K. 10 $20.50

8/30/2019 File Return of Summons Executed (Crows Nest) S.K. 10 $20.50

9/5/2019 Phone confer w/ opposing counsel re. service date J.L, 10 $21.50
and potential extension to Answer.

9/10/2019 Review Answer from Defendant. S.K. 20 $41.00

9/10/2019 Review Answer. JL. 10 $21.50

O/T T2019 Review Answer to Complaint. S.K, .10 $20.50

9/16/2019 Review order assigning case to Magistrate Judge. LL, 10 $21.50

9/18/2019 Review Defendants’ motion for RPDs. JL, 10 $21.50

 
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9/18/2019
9/19/2019
9/19/2019

9/19/2019

9/20/2019
9/25/2019

9/26/2019

9/27/2019
9/27/2019
9/27/2019
9/27/2019

10/1/2019
10/1/2019
10/1/2019
10/1/2019

10/3/2019
10/3/2019

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10/3/2019
10/10/2019
10/10/2019

10/10/2019
10/14/2019

10/16/2019
10/16/2019

10/23/2019
10/23/2019

10/25/2019
11/7/2019
11/7/2019

11/7/2019
11/7/2019

11/15/2019

Review disclosure of corporate interest.

Review scheduling order from Court.

Review scheduling order and calendar important
dates.

Briefly review Scheduling Order and multiple filings
by Court.; confer with Assoc Atty SK re same.
Phone cail w/ Pl. Betz re. status of case.

Review pleadings file, complaint and answer, draft
interrogatories.

Review pleadings file, complaint and answers, draft
requests for production of documents.

Revise and edit interrogatories.

Review edit Interrogatories to Crows Nest.
Review/Edit RPDs to Crows Nest.

Draft requests for production of documents (1.6);
edit and revise requests for production of documents
(0.7).

Review Defs consent to magistrate judge.

Review Consent to proceed before Magistrate.
Review paperless order re: consent to magistrate
Review Order re consent to Magistrate Judge
assignment.

Conf. call w/ Court and counsel re: scheduling.
Review order referring case to Magistrate Judge
Gesner.

Tele conf with Court and opposing counsel re
scheduling. (.1 hrs).

Review Order referring case to Judge Gesner re
settlement.

Review order scheduling mediation, calendar all
required deadlines.

Review Order re Settlement Conference.

Review order sched. sett. conf.

Review and revise Interrogatories and RPDs to
Crows Nest. Draft Interrogs to individual
Defendant. Draft Request for Admissions. Review
and revise, transmit to opposing counsel.

Briefly review written discovery served on E. Betz.
Review and respond to comm from opposing
counsel re amended answer.

Review QC Notice re: Mot. for Disclosure.
Review Deficiency Notice - Local Rule 103.3
disclosure.

Review Local Rule 103.3 Disclosure Statement.
Review Defs answers to RFAs.

Review order granting mot. for leave to amend
answer.

Review requests for admission

Review Def's response to Request for Admissions.
Draft comm to co-counsel re same.

Review interrogs and RPDs from def.

JL,
JL.
S.K.

H.B.H.

JL.
JL.

J.L.

JL.
S.K.
S.K,.
JL.

JL.

S.K.

S.K.
H.B.H.

S.K.
S.K.

H.B.H.
H.B.H.
JL.
H.B.H.

S.K.
H.B.H.

H.B.H.

H.B.H.

S.K.
S.K.

S.K.
JL.
S.K.
S.K,
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S.K.

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$61.50
$494.50

$21.50
$20.50
$20.50
$40.00

$41.00
$20.50

$40.00
$40.00
$43.00
$40.00

$20.50
$720.00

$80.00
$80.00

$20.50
$20.50

$20.50
$21.50
$20.50

$61.50
$120.00

$123.00

 
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11/18/2019

11/19/2019
11/20/2019
11/20/2019
12/2/2019
12/2/2019

12/5/2019
12/6/2019
12/9/2019
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12/27/2019
12/30/2019
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1/2/2020

Tele conf with D. Preller re status of matter and
discovery status. (.2 hrs). Draft consent Motion re
Extension of Time. (.8 hrs).

Review consent motion to extend scheduling order.
Phone cail w/ Pl. Betz re. status of case.

Review scheduling order and calendar new days.
Draft email to Preller re: production of documents.
Confer with 8. Kraff re wage/hour records and
discovery. Review comm from S. Kraff to opposing
counsel re production of docs.

Draft comm to D. Preller re missing wage records.
Tele conf with D. Preller re status of matter.
Direction Conf. w/ HBH and SEK re: need to
contact Preller re documents.

Review email between SEK and opposing counsel
re. production of documents,

Direction Conf. w/ HBH and JSL re: need to contact
Preller re documents.

Draft email to Preller re: need for documents.
Review email from HBH to opposing counsel re.
non-production of documents.

Review documents produced by Defendants.
Review wage and hour records.

Review email from SEK to PI. Betz re. review of
wage and hour documents.

Cail w/ Betz re: wage and hour docs

Call w/ Expert Kimel re: expert report.

Strategy Conf, w/ HBH and JSL re: current needs of
case and expert report

Strategy Conf. w/ HBH and SEK re: current needs
of case and expert report.

Draft email to Betz re: case update and document
production.

Direction conf with associates re expert report and
cales.

Review produced docs for damage calculations and
determine needs for expert witness.

Review email from opposing counsel re. discovery
in word format.

Review email from Preller re: discovery.

Review additional documents provided by Betz.
Review email from Preller re: discovery.

Compile and send documents/data to expert Kimel
for expert report.

Call w/ Plaintiff Betz re: hours of work for damage
calculations,

Draft email to Betz re: scheduling call.

Call w/ Expert Witness re: damage calculations and
pay documents.

Compile and forward recollection data to expert
witness.

H.B.H.

JL.
J.L.
S.K.
S.K.
H.B.H.

H.B.H.
.B.H.
J.L.
JL.
S.K.

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1/3/2020 Review email from Expert witness re: clarifying S.K. 20 $41.00
data + draft response.

1/3/2020 Review preliminary draft of expert report from S.K. 70 $143.50
Kimel and contact expert re: changes needed to be
made.

1/6/2020 Review expert report. JL. .70 $150.50

1/6/2020 Email opposing counsel Rule 26(a)(2) expert report JL. 10 $21.50
and designation.

1/6/2020 3 calls with expert Kimel re: edits to expert report. S.K. 50 $102.50

1/6/2020 Review/edit expert report. S.K. 70 $143.50

1/6/2020 Finalize and send out expert report and expert S.K. 90 $184.50
designation.

1/8/2020 Review scheduling order + update calendar. S.K. 40 $82.00

1/13/2020 Review and revise mediation letter to Judge Gesner. H.B.H. .60 $240.00
Confer with S. Kraff re same.

1/13/2020 Draft letter to Judge Gesner re: mediation statement. S.K. 3.30 $676.50

1/13/2020 Finalize mediation statement and exhibits to send to S.K. 70 $143.50
Judge Gesner.

1/13/2020 Strategy Conf. w/ HBH re: mediation statement. S.K. 30 $61.50

1/15/2020 Review email from Betz re: mediation. S.K. 10 $20.50

1/17/2020 Phone confer w/ HBH and opposing counsel re. JL. 20 $43.00
potential settlement and upcoming mediation.

1/17/2020 Review email from HBH to PI. Betz re. settlement JL. 10 $21.50
offer.

1/17/2020 Draft lodestar statement. EL, 20 $43.00

1/17/2020 Tele conf with D. Preller (w/ J. Liew) re settlement | H.B.H. 20 $80.00
discussions. Review file materials.

1/17/2020 Draft comm to client re status of matter and H.B.H. 20 . $80.00
settlement.

1/21/2020 Review email from HBH to opposing counsel re. EL. 10 $21.50
settlement offer,

1/21/2020 Review email from HBH to Betz re: settlement S.K. 10 $20.50
offer.

1/21/2020 Review email from HBH to Preller re: settlement S.K. .10 $20.50
offer.

1/22/2020 Comm with client re status of matter. H.B.H. 10 $40.00

1/22/2020 Tele conf with Donna in Judge Gesner's Chambers H.B.H. 10 $40.00
re status of negotiations; forward comm re same.

1/24/2020 Draft comm to opposing counsel re status of matter. H.B.H. 10 $40.00

1/28/2020 Travel to and from Baltimore; attend mediation H.B.H. 5.50 $2,200.00
before Judge B. Gesner.

1/28/2020 Draft comm to TJM re preparation of settlement H.B.H. 20 $80.00
agreement and Joint Motion.

1/28/2020 Attend Settlement Conf. (3.5) + travel to/from conf. S.K. 5.50 $1,127.50
(2.0)

1/29/2020 Draft Settlement agreement, Motion to Approve, and T.J.M. 1.60 $240.00
Proposed Order, review and revise same

1/29/2020 Review HBH revisions to Motion for Approval and = T.J.M. 30 $45.00
Settlement Agreement

1/29/2020 Review draft Settlement Agreement and Motion to S.K. 20 $41.00 °
Approve.

 
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1/29/2020 Review email from Betz re: W2
SUBTOTAL:

Costs
FAT2019 Filing Fee
9/5/2019 Service of Process
1/6/2020 Expert Witness Fee
SUBTOTAL:

Matter Ledgers

SUBTOTAL:

Trust Account
2/11/2020 Previous Balance
Available in Trust:

S.K. 10 $20.50
52.20 $13,332.00

$400.00
$65.00
$955.00
$1,420.00

$0.00
$0.00

TOTAL $14,752.00
PREVIOUS BALANCE DUE $0.00

CURRENT BALANCE DUE AND OWING $14,752.00

 
